






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-165 CR


____________________



SCOTT THOMPSON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 84966






MEMORANDUM OPINION (1)


	Scott Thompson was convicted and sentenced on an indictment for burglary of a
habitation.  Thompson filed a notice of appeal on April 20, 2005.  The trial court entered
a certification of the defendant's right to appeal in which the court certified that this is a
plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On April 25, 2005, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered June 15, 2005

Do Not Publish

Before McKeithen, C.J., Kreger and Horton, JJ.
1. Tex. R. App. P. 47.4.


